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   10 DOLGEN CALIFORNIA, LLC

   11 [Additional counsel listed on following page]

   12
                                UNITED STATES DISTRICT COURT
   13
                              CENTRAL DISTRICT OF CALIFORNIA
   14
        BRIAN GILE, an individual, on behalf          CASE NO. 5:20-cv-01863-MCS-SP
   15 of himself and all others similarly
        situated; RANDOLPH GALLEGOS, an               STIPULATED PROTECTIVE
   16 individual, on behalf of himself and all        ORDER
        others similarly situated,
   17
                       Plaintiffs,
   18
                 vs.
   19
        DOLGEN CALIFORNIA, LLC, a
   20 Tennessee limited liability company;
        and DOES 1 through 100, inclusive,
   21
                       Defendants.
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    1 1.         A.    PURPOSES AND LIMITATIONS
    2            Discovery in this action is likely to involve production of confidential,
    3 proprietary, or private information for which special protection from public

    4 disclosure and from use for any purpose other than prosecuting this litigation may be

    5 warranted. Accordingly, Plaintiffs Brian Gile and Randolph Gallegos (“Plaintiffs”)

    6 and Defendant Dolgen California, LLC (“Dolgen” or “Defendant”) (together, “the

    7 parties”) hereby stipulate to and petition the Court to enter the following Stipulated

    8 Protective Order. The parties acknowledge that this Order does not confer blanket

    9 protections on all disclosures or responses to discovery and that the protection it

   10 affords from public disclosure and use extends only to the limited information or

   11 items that are entitled to confidential treatment under the applicable legal principles.

   12 The parties further acknowledge, as set forth in Section 12.3, below, that this

   13 Stipulated Protective Order does not entitle them to file confidential information

   14 under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and

   15 the standards that will be applied when a party seeks permission from the court to file

   16 material under seal.

   17            B.    GOOD CAUSE STATEMENT
   18            This action is likely to involve trade secrets, confidential commercial and
   19 personnel information, and proprietary information for which special protection from

   20 public disclosure and from use for any purpose other than prosecution of this action is

   21 warranted. Such confidential and proprietary materials and information consist of,

   22 among other things, confidential business or financial information, information

   23 regarding confidential business practices, training materials, operating procedures,

   24 personnel documents, tax records, earnings records, social security and date of birth

   25 information, and other information otherwise generally unavailable to the public, or

   26 which may be privileged or otherwise protected from disclosure under state or federal

   27 statutes, court rules, case decisions, or common law. Accordingly, to expedite the

   28 flow of information, to facilitate the prompt resolution of disputes over

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    1 confidentiality of discovery materials, to adequately protect information the parties

    2 are entitled to keep confidential, to ensure that the parties are permitted reasonable

    3 necessary uses of such material in preparation for and in the conduct of trial, to

    4 address their handling at the end of the litigation, and serve the ends of justice, a

    5 protective order for such information is justified in this matter. It is the intent of the

    6 parties that information will not be designated as confidential for tactical reasons and

    7 that nothing be so designated without a good faith belief that it has been maintained

    8 in a confidential, non-public manner, and there is good cause why it should not be

    9 part of the public record of this case.

   10 2.         DEFINITIONS
   11            2.1      Action: Brian Gile and Randolph Gallegos v. Dolgen California, LLC,
   12 Case No. 5:20-cv-01863-MCS-SP, pending in the Central District of California.

   13            2.2      Challenging Party: a Party or Non-Party that challenges the designation
   14 of information or items under this Order.

   15            2.3      “CONFIDENTIAL” Information or Items: information (regardless of
   16 how it is generated, stored or maintained) or tangible things that qualify for

   17 protection under Federal Rule of Civil Procedure 26(c), and as specified above in the

   18 Good Cause Statement.

   19            2.4      Counsel: Outside Counsel of Record and House Counsel (as well as their
   20 support staff).

   21            2.5      Designating Party: a Party or Non-Party that designates information or
   22 items           that it produces in disclosures or in responses to discovery as
   23 “CONFIDENTIAL.”

   24            2.6      Disclosure or Discovery Material: all items or information, regardless of
   25 the medium or manner in which it is generated, stored, or maintained (including,

   26 among other things, testimony, transcripts, and tangible things), that are produced or

   27 generated in disclosures or responses to discovery in this matter.

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    1            2.7     Expert: a person with specialized knowledge or experience in a matter
    2 pertinent to the litigation who has been retained by a Party or its counsel to serve as

    3 an expert witness or as a consultant in this Action.

    4            2.8     House Counsel: attorneys who are employees of a party to this Action.
    5 House Counsel does not include Outside Counsel of Record or any other outside

    6 counsel.

    7            2.9     Non-Party: any natural person, partnership, corporation, association, or
    8 other legal entity not named as a Party to this action.

    9            2.10 Outside Counsel of Record: attorneys who are not employees of a party
   10 to this Action but are retained to represent or advise a party to this Action and have

   11 appeared in this Action on behalf of that party or are affiliated with a law firm which

   12 has appeared on behalf of that party, and includes support staff.

   13            2.11 Party: any party to this Action, including all of its officers, directors,
   14 employees, consultants, retained experts, House Counsel, and Outside Counsel of

   15 Record (and their support staffs).

   16            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
   17 Discovery Material in this Action.

   18            2.13 Professional Vendors: persons or entities that provide litigation support
   19 services         (e.g., photocopying, videotaping, translating, preparing exhibits or
   20 demonstrations, and organizing, storing, or retrieving data in any form or medium)

   21 and their employees and subcontractors.

   22            2.14 Protected Material: any Disclosure or Discovery Material that is
   23 designated as “CONFIDENTIAL.”

   24            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
   25 from a Producing Party.

   26 3.         SCOPE
   27            The protections conferred by this Stipulation and Order cover not only
   28 Protected Material (as defined above), but also (1) any information copied or

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    1 extracted from Protected Material; (2) all copies, excerpts, summaries, or

    2 compilations of Protected Material; and (3) any testimony, conversations, or

    3 presentations by Parties or their Counsel that might reveal Protected Material.

    4            Any use of Protected Material at trial shall be governed by the orders of the
    5 trial judge. This Order does not govern the use of Protected Material at trial.

    6 4.         DURATION
    7            Even after final disposition of this litigation, the confidentiality obligations
    8 imposed by this Order shall remain in effect until a Designating Party agrees

    9 otherwise in writing or a court order otherwise directs. Final disposition shall be

   10 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with

   11 or without prejudice; and (2) final judgment herein after the completion and

   12 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,

   13 including the time limits for filing any motions or applications for extension of time

   14 pursuant to applicable law.

   15 5.         DESIGNATING PROTECTED MATERIAL
   16            5.1   Exercise of Restraint and Care in Designating Material for Protection.
   17 Each Party or Non-Party that designates information or items for protection under

   18 this Order must take care to limit any such designation to specific material that

   19 qualifies under the appropriate standards. The Designating Party must designate for

   20 protection only those parts of material, documents, items, or oral or written

   21 communications that qualify so that other portions of the material, documents, items,

   22 or communications for which protection is not warranted are not swept unjustifiably

   23 within the ambit of this Order.

   24            Mass, indiscriminate, or routinized designations are prohibited. Designations
   25 that are shown to be clearly unjustified or that have been made for an improper

   26 purpose (e.g., to unnecessarily encumber the case development process or to impose

   27 unnecessary expenses and burdens on other parties) may expose the Designating

   28 Party to sanctions.

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    1            If it comes to a Designating Party’s attention that information or items that it
    2 designated for protection do not qualify for protection, that Designating Party must

    3 promptly notify all other Parties that it is withdrawing the inapplicable designation.

    4            5.2   Manner and Timing of Designations. Except as otherwise provided in
    5 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise

    6 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection

    7 under this Order must be clearly so designated before the material is disclosed or

    8 produced.

    9            Designation in conformity with this Order requires:
   10            (a) for information in documentary form (e.g., paper or electronic documents,
   11 but excluding transcripts of depositions or other pretrial or trial proceedings), that the

   12 Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter

   13 “CONFIDENTIAL legend”), to each page that contains protected material. If only a

   14 portion or portions of the material on a page qualifies for protection, the Producing

   15 Party also must clearly identify the protected portion(s) (e.g., by making appropriate

   16 markings in the margins).

   17            A Party or Non-Party that makes original documents available for inspection
   18 need not designate them for protection until after the inspecting Party has indicated

   19 which documents it would like copied and produced. During the inspection and

   20 before the designation, all of the material made available for inspection shall be

   21 deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents

   22 it wants copied and produced, the Producing Party must determine which documents,

   23 or portions thereof, qualify for protection under this Order. Then, before producing

   24 the specified documents, the Producing Party must affix the “CONFIDENTIAL

   25 legend” to each page that contains Protected Material. If only a portion or portions of

   26 the material on a page qualifies for protection, the Producing Party also must clearly

   27 identify the protected portion(s) (e.g., by making appropriate markings in the

   28 margins).

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    1            (b) for testimony given in depositions that the Designating Party identify the
    2 Disclosure or Discovery Material on the record, before the close of the deposition all

    3 protected testimony.

    4            (c) for information produced in some form other than documentary and for any
    5 other tangible items, that the Producing Party affix in a prominent place on the

    6 exterior of the container or containers in which the information is stored the legend

    7 “CONFIDENTIAL.” If only a portion or portions of the information warrants

    8 protection, the Producing Party, to the extent practicable, shall identify the protected

    9 portion(s).

   10            5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
   11 failure to designate qualified information or items does not, standing alone, waive the

   12 Designating Party’s right to secure protection under this Order for such material.

   13 Upon timely correction of a designation, the Receiving Party must make reasonable

   14 efforts to assure that the material is treated in accordance with the provisions of this

   15 Order.

   16 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
   17            6.1   Timing of Challenges. Any Party or Non-Party may challenge a
   18 designation of confidentiality at any time that is consistent with the Court’s

   19 Scheduling Order.

   20            6.2   Meet and Confer. The Challenging Party shall initiate the dispute
   21 resolution process under Local Rule 37.1 et seq.

   22            6.3 The burden of persuasion in any such challenge proceeding shall be on the
   23 Designating Party. Frivolous challenges, and those made for an improper purpose

   24 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may

   25 expose the Challenging Party to sanctions. Unless the Designating Party has waived

   26 or withdrawn the confidentiality designation, all parties shall continue to afford the

   27 material in question the level of protection to which it is entitled under the Producing

   28 Party’s designation until the Court rules on the challenge.

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    1 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
    2            7.1   Basic Principles. A Receiving Party may use Protected Material that is
    3 disclosed or produced by another Party or by a Non-Party in connection with this

    4 Action only for prosecuting, defending, or attempting to settle this Action. Such

    5 Protected Material may be disclosed only to the categories of persons and under the

    6 conditions described in this Order. When the Action has been terminated, a Receiving

    7 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).

    8 Protected Material must be stored and maintained by a Receiving Party at a location

    9 and in a secure manner that ensures that access is limited to the persons authorized

   10 under this Order.

   11            7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
   12 otherwise ordered by the court or permitted in writing by the Designating Party, a

   13 Receiving         Party    may     disclose       any   information   or   item   designated
   14 “CONFIDENTIAL” only to:

   15            (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
   16 employees of said Outside Counsel of Record to whom it is reasonably necessary to

   17 disclose the information for this Action;

   18            (b) the officers, directors, and employees (including House Counsel) of the
   19 Receiving Party to whom disclosure is reasonably necessary for this Action;

   20            (c) Experts (as defined in this Order) of the Receiving Party to whom
   21 disclosure is reasonably necessary for this Action and who have signed the

   22 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

   23            (d) the court and its personnel;
   24            (e) court reporters and their staff;
   25            (f) professional jury or trial consultants, mock jurors, and Professional Vendors
   26 to whom disclosure is reasonably necessary for this Action and who have signed the

   27 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

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    1            (g) the author or recipient of a document containing the information or a
    2 custodian or other person who otherwise possessed or knew the information;

    3            (h) during their depositions, witnesses, and attorneys for witnesses, in the
    4 Action to whom disclosure is reasonably necessary provided: (1) the deposing party

    5 requests that the witness sign the form attached as Exhibit A hereto; and (2) they will

    6 not be permitted to keep any confidential information unless they sign the Exhibit A

    7 hereto, unless otherwise agreed by the Designating Party or ordered by the court.

    8 Pages of transcribed deposition testimony or exhibits to depositions that reveal

    9 Protected Material may be separately bound by the court reporter and may not be

   10 disclosed to anyone except as permitted under this Stipulated Protective Order; and

   11            (i) any mediator or settlement officer, and their supporting personnel, mutually
   12 agreed upon by any of the parties engaged in settlement discussions.

   13 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
   14 OTHER LITIGATION

   15            If a Party is served with a subpoena or a court order issued in other litigation
   16 that compels disclosure of any information or items designated in this Action as

   17 “CONFIDENTIAL,” that Party must:

   18            (a) promptly notify in writing the Designating Party. Such notification shall
   19 include a copy of the subpoena or court order;

   20            (b) promptly notify in writing the party who caused the subpoena or order to
   21 issue in the other litigation that some or all of the material covered by the subpoena

   22 or order is subject to this Protective Order. Such notification shall include a copy of

   23 this Stipulated Protective Order; and

   24            (c) cooperate with respect to all reasonable procedures sought to be pursued by
   25 the Designating Party whose Protected Material may be affected.

   26            If the Designating Party timely seeks a protective order, the Party served with
   27 the subpoena or court order shall not produce any information designated in this

   28 action as “CONFIDENTIAL” before a determination by the court from which the

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    1 subpoena or order issued, unless the Party has obtained the Designating Party’s

    2 permission. The Designating Party shall bear the burden and expense of seeking

    3 protection in that court of its confidential material and nothing in these provisions

    4 should be construed as authorizing or encouraging a Receiving Party in this Action to

    5 disobey a lawful directive from another court.

    6 9.         A    NON-PARTY’S       PROTECTED         MATERIAL       SOUGHT       TO    BE
    7 PRODUCED IN THIS LITIGATION

    8            (a) The terms of this Order are applicable to information produced by a Non-
    9 Party in this Action and designated as “CONFIDENTIAL.” Such information

   10 produced by Non-Parties in connection with this litigation is protected by the

   11 remedies and relief provided by this Order. Nothing in these provisions should be

   12 construed as prohibiting a Non-Party from seeking additional protections.

   13            (b) In the event that a Party is required, by a valid discovery request, to
   14 produce a Non-Party’s confidential information in its possession, and the Party is

   15 subject to an agreement with the Non-Party not to produce the Non-Party’s

   16 confidential information, then the Party shall:

   17                  (1) promptly notify in writing the Requesting Party and the Non-Party
   18 that some or all of the information requested is subject to a confidentiality agreement

   19 with a Non-Party;

   20                  (2) promptly provide the Non-Party with a copy of the Stipulated
   21 Protective Order in this Action, the relevant discovery request(s), and a reasonably

   22 specific description of the information requested; and

   23                  (3) make the information requested available for inspection by the Non-
   24 Party, if requested.

   25            (c) If the Non-Party fails to seek a protective order from this court within 14
   26 days of receiving the notice and accompanying information, the Receiving Party may

   27 produce the Non-Party’s confidential information responsive to the discovery request.

   28 If the Non-Party timely seeks a protective order, the Receiving Party shall not

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    1 produce any information in its possession or control that is subject to the

    2 confidentiality agreement with the Non-Party before a determination by the court.

    3 Absent a court order to the contrary, the Non-Party shall bear the burden and expense

    4 of seeking protection in this court of its Protected Material.

    5 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    6            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    7 Protected Material to any person or in any circumstance not authorized under this

    8 Stipulated Protective Order, the Receiving Party must immediately (a) notify in

    9 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts

   10 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or

   11 persons to whom unauthorized disclosures were made of all the terms of this Order,

   12 and (d) request such person or persons to execute the “Acknowledgment and

   13 Agreement to Be Bound” that is attached hereto as Exhibit A.

   14 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   15 PROTECTED MATERIAL

   16            When a Producing Party gives notice to Receiving Parties that certain
   17 inadvertently produced material is subject to a claim of privilege or other protection,

   18 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil

   19 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

   20 may be established in an e-discovery order that provides for production without prior

   21 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the

   22 parties reach an agreement on the effect of disclosure of a communication or

   23 information covered by the attorney-client privilege or work product protection, the

   24 parties may incorporate their agreement in the stipulated protective order submitted

   25 to the court.

   26 12.        MISCELLANEOUS
   27            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   28 person to seek its modification by the Court in the future.

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    1            12.2 Right to Assert Other Objections. By stipulating to the entry of this
    2 Protective Order no Party waives any right it otherwise would have to object to

    3 disclosing or producing any information or item on any ground not addressed in this

    4 Stipulated Protective Order. Similarly, no Party waives any right to object on any

    5 ground to use in evidence of any of the material covered by this Protective Order.

    6            12.3 Filing Protected Material. A Party that seeks to file under seal any
    7 Protected Material must comply with Civil Local Rule 79-5. Protected Material may

    8 only be filed under seal pursuant to a court order authorizing the sealing of the

    9 specific Protected Material at issue. If a Party's request to file Protected Material

   10 under seal is denied by the court, then the Receiving Party may file the information in

   11 the public record unless otherwise instructed by the court.

   12 13.        FINAL DISPOSITION
   13            After the final disposition of this Action, as defined in paragraph 4, within 60
   14 days of a written request by the Designating Party, each Receiving Party must return

   15 all Protected Material to the Producing Party or destroy such material. As used in this

   16 subdivision, “all Protected Material” includes all copies, abstracts, compilations,

   17 summaries, and any other format reproducing or capturing any of the Protected

   18 Material. Whether the Protected Material is returned or destroyed, the Receiving

   19 Party must submit a written certification to the Producing Party (and, if not the same

   20 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

   21 (by category, where appropriate) all the Protected Material that was returned or

   22 destroyed and (2) affirms that the Receiving Party has not retained any copies,

   23 abstracts, compilations, summaries or any other format reproducing or capturing any

   24 of the Protected Material. Notwithstanding this provision, Counsel are entitled to

   25 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

   26 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

   27 reports, attorney work product, and consultant and expert work product, even if such

   28 materials contain Protected Material. Any such archival copies that contain or

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    1 constitute Protected Material remain subject to this Protective Order as set forth in

    2 Section 4 (DURATION).

    3 14.         Any violation of this Order may be punished by any and all appropriate
    4 measures including, without limitation, contempt proceedings and/or monetary

    5 sanctions.

    6 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

    7

    8 DATED: September 27, 2021            MCGUIREWOODS LLP
    9

   10                                     By: /s/Joel S. Allen
   11                                               Sabrina A. Beldner
                                                    Joel S. Allen
   12
                                              Attorneys for Defendant
   13                                         DOLGEN CALIFORNIA, LLC

   14

   15 DATED: September 24, 2021            ARIAS SANGUINETTI WANG & TORRIJOS LLP
   16

   17                                      By: /s/Craig S. Momita
                                                     Mike Arias, Esq.
   18                                                Alfredo Torrijos, Esq.
                                                     Craig S. Momita, Esq.
   19
                                               Attorneys for Plaintiffs
   20                                          BRIAN GILE and RANDOLPH
                                               GALLEGOS
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    2 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

    3

    4 DATED: October 4, 2021

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        _____________________________________
    7 Sheri Pym

    8 United States Magistrate Judge

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    1                                       EXHIBIT A
    2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3 I,      _____________________________         [print    or   type    full   name],    of
    4 _________________ [print or type full address], declare under penalty of perjury

    5 that I have read in its entirety and understand the Stipulated Protective Order that

    6 was issued by the United States District Court for the Central District of California

    7 on ______[date] in the case of Brian Gile and Randolph Gallegos v. Dolgen

    8 California, LLC, Case No. 5:20-cv-01863-MCS-SP. I agree to comply with and to

    9 be bound by all the terms of this Stipulated Protective Order and I understand and

   10 acknowledge that failure to so comply could expose me to sanctions and punishment

   11 in the nature of contempt. I solemnly promise that I will not disclose in any manner

   12 any information or item that is subject to this Stipulated Protective Order to any

   13 person or entity except in strict compliance with the provisions of this Order.

   14 I further agree to submit to the jurisdiction of the United States District Court for the

   15 Central District of California for the purpose of enforcing the terms of this

   16 Stipulated Protective Order, even if such enforcement proceedings occur after

   17 termination of this action. I hereby appoint __________________________ [print or

   18 type full name] of _______________________________________ [print or type

   19 full address and telephone number] as my California agent for service of process in

   20 connection with this action or any proceedings related to enforcement of this

   21 Stipulated Protective Order.

   22 Date: ______________________________________

   23 City and State where sworn and signed: _________________________________

   24

   25 Printed name: _______________________________

   26

   27 Signature: __________________________________

   28

        150195392.1
                                   STIPULATED PROTECTIVE ORDER
